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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-330V
                                     Filed: March 20, 2018
                                         UNPUBLISHED


    JENNIFER FLORA BRANTLEY,
                                                             Special Processing Unit (SPU); Joint
                        Petitioner,                          Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Pneumococcal
                                                             Conjugate Vaccine (PCV); Shoulder
    SECRETARY OF HEALTH AND                                  Injury Related to Vaccine
    HUMAN SERVICES,                                          Administration (SIRVA)

                       Respondent.


John Robert Howie, Howie Law, PC, Dallas, TX, for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On April 10, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine
Administration (“SIRVA”) as a result of her December 2, 2015 influenza (“flu”)
vaccination and Prevnar 13 pneumococcal conjugate (“PCV”) vaccination. Petition at 1;
Stipulation, filed March 19, 2018, at ¶¶ 2, 4. Petitioner further alleges that she received
her vaccinations in the United States, that she suffered the effects of her injury for more
than six months, and that “there has been no prior award or settlement of a civil action
for damages on her behalf as a result of her alleged injury.” Stipulation at ¶¶ 3-5; see
Petition at ¶¶ 20-21. “Respondent denies that petitioner’s alleged shoulder injury and
residual effects were caused-in-fact by the flu vaccine and/or the PCV vaccine.
Respondent further denies that the flu or PCV vaccine caused petitioner any other injury
or her current condition.” Stipulation at ¶ 6.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on March 19, 2018, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $41,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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